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October 16, 2020

 

BY ECF ONLY W/OUT COURTESY COPY

Hon. P. Kevin Castel

United States District Judge
Southern District of New York
500 Pear] Street, Courtroom 11D
New York, NY 10007-1312

 

Re: Sterling Corporate Tax Credit Fund v. Rip Van Winkle OS, JS p>
Civil Action No. 1:20-cv-6136 a .

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Dear Judge Castel:

We represent defendant Rip Van Winkle Associates, LLC “RVW”) in connection with the
above-referenced matter, and write jointly, on behalf of all parties, to respectfully request: (1) a
two (2) week extension, from October 20, 2020 to November 4, 2020, of RVW’s time to answer,
move, or otherwise respond to plaintiffs’ complaint dated August 5, 2020 (the “Complaint”); and
(2) a concomitant adjournment of the initial pre-trial conference currently scheduled for November
2, 2020. The parties remain engaged in settlement discussions and jointly make this request so that
they can continue those discussions in earnest, and potentially avoid the need for further litigation.
This is the parties’ second joint request for such relief.

We thank the Court for its time and attention regarding these matters.

Very truly yours,

By: /s/ Scott ©. Landaa

Scott R. Landau
Attorney for Rip Van Winkle Associates LLC

cc: Michael Taitelman, Esq. (via ECF and email)
Daniel Schnapp, Esq. (via ECF and email)

 
